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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                            Case No. 3:08cr86/LAC

RAJENDER REDDY NANDYALA,
  a/k/a “Raj Nandyala,”
  a/k/a “Rajender Reddy,”
  a/k/a “Rajumama”
_______________________________

                     PRELIMINARY ORDER OF FORFEITURE

        WHEREAS, in the Indictment in the above-entitled action, the United States

sought forfeiture from the defendant RAJENDER REDDY NANDYALA pursuant to

Title 18, United States Code, Sections 981(a)(1), 982(a)(1), (a)(2)(B) and (b)(1), and Title

28, United States Code, Section 2461(c), the defendant’s interests in any property, real or

personal, involved in the violations set forth in Counts One through Three of said

Indictment and/or any property traceable to such property;

        AND WHEREAS, on or about October 15, 2008, the defendant RAJENDER

REDDY NANDYALA, pled guilty to Counts One through Three of the Indictment

pursuant to a written plea and cooperation agreement outlining such forfeiture;

        AND WHEREAS, by virtue of said plea agreement, the United States is now

entitled to entry of a Preliminary Order of Forfeiture against all of defendant’s interest in

said property, pursuant to Title 18, United States Code, Sections 981(a)(1), 982(a)(1),
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(a)(2)(B) and (b)(1), and Title 28, United States Code, Section 2461(c) of the Federal

Rules of Criminal Procedure; now wherefore,

       IT IS HEREBY ORDERED:

       1.      That all of defendant’s rights and interest in the property described below

is hereby forfeited to and vested in the United States of America.

       2.      That property which is subject to forfeiture in this Order is as follows:

               A.     One 1998 silver Mercedes SUV bearing Vehicle Identification

       Number 4JGAB54E8WA033506 registered to SHARADA NANDYALA.

               B.     $13,996.00 in U.S. currency seized from the residence of

       defendants SHARADA NANDYALA and RAJENDER REDDY NANDYALA,

       located in Gulf Breeze, Florida;

               C.     $8,006.86 in U.S. currency located in Wachovia Bank (now

       known as Wells Fargo and Company Bank) account ending in account number

       7035 for which defendant SHARADA NANDYALA, using the names Sharada

       Reddy Patlolla or Sharada Patlolla Reddy, was the signatory; and,

               D.     $1,350.03 in U.S. currency located in Regions Bank account

       ending in account number 90001 and titled in the name of Nandi Enterprises, Inc.




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       3.     That a Preliminary Order of Forfeiture is hereby entered in favor of the

United States against defendant, RAJENDER REDDY NANDYALA, pursuant to Rule

32.2(b)(1) of the Federal Rules of Criminal Procedure.

       IT IS SO ORDERED this 29th day of January, 2009.


                                     s /L.A. Collier
                                     LACEY A. COLLIER
                                     SENIOR UNITED STATES DISTRICT JUDGE




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